              Case 1:20-cv-04163-VEC Document 32 Filed 01/14/21 Page 1 of 1




534 BROADHOLLOW ROAD, SUITE 210                                                      JOSHUA S. SPRAGUE
PO BOX 9034
MELVILLE, NY 11747-9034                                                            DIRECT DIAL: (631) 414.5852
(631) 694.2300  FAX: (631) 694.2309                                               DIRECT FAX: (631) 454.3889
_______________________                                                              JSS@LAMBBARNOSKY.COM
SERVICE BY FAX, EMAIL OR OTHER FORMS OF
ELECTRONIC COMMUNICATION NOT ACCEPTED




                                                      January 14, 2021

BY ECF
Hon. Valerie E. Caproni
United States District Court
Southern District of New York
40 Foley Square, Room 443
New York, New York 10007

                 Re:     Fletcher v. Medgar Evers, College, CUNY, et al.,
                         Docket No. 20 Civ. 4163 (VEC) (SDA)

Dear Judge Caproni:

         This office is counsel to Defendant Rudolph Crew and the interests of Johnathon P. Hardaway in
the above-entitled action. We write to advise the Court that on January 12, 2021, we were informed of the
unfortunate news that Mr. Hardaway had suddenly and very unexpectedly passed away late the previous
week. We are conferring with plaintiff’s counsel to address the effects of this sad development upon the
litigation, including with regard to the claims that have been asserted against Mr. Hardaway. However,
we did not want to delay in advising the Court.

        The Court’s continuing attention to this matter is greatly appreciated.

                                              Respectfully submitted,

                                              /s/ Joshua S. Sprague
                                              Joshua S. Sprague

     cc: All parties (Via ECF)
